Case 1:19-cv-04694-PKC-RER Document 48 Filed 03/31/21 Page 1 of 1 PageID #: 617




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  RICHARD ROE,
                                                                            JUDGMENT
                           Plaintiff,
                                                                            19-CV-4694 (PKC) (RER)
         v.

 ST. JOHN’S UNIVERSITY and JANE DOE,

                            Defendants.
 ---------------------------------------------------------------X
          A Memorandum and Order of the Honorable Pamela K. Chen, United States District

 Judge, having been filed on March 31, 2021, granting Defendants SJU’s and Doe’s motion to

 dismiss in its entirety; dismissing Doe’s counterclaims for lack of subject matter jurisdiction; it is

         ORDERED and ADJUDGED that Defendants SJU’s and Doe’s motion to dismiss is

 granted in its entirety; that Doe’s counterclaims are dismissed for lack of subject matter

 jurisdiction; and that because this action is dismissed in its entirety, Defendants’ request to

 amend the caption is moot.

 Dated: Brooklyn, New York                                            Douglas C. Palmer
        March 31, 2021                                                Clerk of Court

                                                                By:   /s/Jalitza Poveda
                                                                      Deputy Clerk
